               Case 20-15408-SMG         Doc 32     Filed 05/31/20       Page 1 of 6




                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                 Fort Lauderdale Division
                                  www.flsb.uscourts.gov
In re:
                                                             Case No. 20-15408-SMG
FREEMAN MOBILE ORTHODONTICS PLLC,                            Chapter 11

                       Debtor.
_________________________________________/

In re:                                                       Jointly Administered
                                                             Case No. 20-15409-SMG
                                                             Chapter 11
FREEMAN ORTHODONTICS, P.A.,

                       Debtor.
_________________________________________/

         MOTION TO WAIVE APPOINTMENT OF PATIENT CARE OMBUDSMAN

          FREEMAN ORTHODONTICS, P.A., Debtor-in-Possession (the “Debtor”), by and

through undersigned counsel, files this Motion to Waive Appointment of Patient Care Ombudsman

(the “Motion”) and seeks an entry of an order waiving the appointment of the patient care

ombudsman, pursuant to §§ 101(27A) and 333(a)(1) of the Bankruptcy Code (the “Code”) and

Fed. R. Bank. P. 2007.2(a), and in support thereof, states as follows:

                                     Jurisdiction and Venue

         1.    This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334.

         2.    This matter is a core proceeding within the meaning of 28 U.S.C. §§ 157(b)(2)(A).

         3.     Venue in this Court is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                                           Background

         4.    On May 17, 2020, the Debtor filed for voluntary relief under Chapter 11 of the

Bankruptcy Code [ECF 1].
               Case 20-15408-SMG           Doc 32      Filed 05/31/20     Page 2 of 6




     5.        As of the date hereof, no creditors’ committee has been appointed in this case. In

addition, no trustee or examiner has been appointed, except for the Subchapter V trustee.

      6.       The Debtor is a brick and mortar orthodontics practice.

      7.       The Court has not issued an order directing the United States Trustee to appoint a

health care ombudsman.

      8.       The Debtor is duly licensed and in good standing with the State of Florida.

                                          Legal Argument
     9.        Pursuant to §333(a)(1) of the Bankruptcy Code, the Court must appoint an

ombudsman “if the debtor…is a health care business…unless the court finds the appointment of

such ombudsman is not necessary to protect patients under the specific facts of the case.” In re

Alternate Family Health Care, 377 B.R. 754 (Bankr. S.D. Fla. 2007).

    10.        Additionally, Fed. R. Bankr. P. 2007.2 allows the Court to waive the appointment

of a patient care ombudsman if one is not necessary to the specific circumstances of the case for

protection of patients.

                           A. The Debtor is not a Health Care Business

    11.        The Debtor is not a “health care business” per the Code’s definitions and therefore

a patient care ombudsman is not warranted.

    12.        Per § 101(27A) of the Code, a “health care business” is one that is “primarily

engaged in offering to the general public facilities and services for (i) the diagnosis or treatment

of injury, deformity, or disease; and (ii) surgical, drug treatment, psychiatric, or obstetric care.”

    13.        The Debtor does not treat patients for “injury, deformity, or disease” as the

Debtor’s primary business is straightening teeth, typically through the application of clear

aligners.



                                                 -2-
                Case 20-15408-SMG            Doc 32      Filed 05/31/20      Page 3 of 6




    14.         In addition, and as § 101(27A) utilizes the conjunctive “and”, the Debtor does not

provide “surgical, drug treatment, psychiatric, or obstetric care” or any procedures that come to

close to these types of invasive procedures, but rather, as stated, clear aligner appliances.

    15.         Furthermore, § 101(27A)(B)(i-ii), which follows the conjunction “and”, states that

a health care business “includes any (I) general or specialized hospital; (II) ancillary ambulatory,

emergency, or surgical treatment facility; (III) hospice; (IV) home health agency; and (V) other

health care institution that is similar to an entity referred to in subclause (I), (II), (III), or (IV); and

(ii) any long-term care facility…”

    16.         In In re Banes, 355 B.R. 532 (Bankr. M.D. N.C. 2006), the bankruptcy court held

that the debtor, which was a dental practice, did not fall under the definition of a “health care

business” even though the practice provided surgical treatment, primarily due to subsection B. See

id. at 535. The Banes court, noting that subsection B used the word “includes”, looked to In re 7-

Hills Radiology, LLC, 350 B.R. 902, 904 (Bankr. D.Nev. 2006), which held that the type of health

care businesses in subsection B were those that involved “direct and ongoing contact with

patients” and that provided patients with “shelter and sustenance in addition to medical treatment.”

Id. The Banes court therefore concluded that “…it is difficult to imagine that the legislature would

have intended a business that is so fundamentally different, such as an outpatient dental practice,

to be read into the definition.” Id.

    17.         In the present case, the Debtor’s case is even more compelling than that of Banes,

as the Debtor does not provide surgical treatment of any kind, let alone provide “shelter and

sustenance”.

    18.         Therefore, the Debtor does not fall under the definition of a “health care business”

and, as such, a patient care ombudsman need not be appointed.


                                                   -3-
               Case 20-15408-SMG            Doc 32      Filed 05/31/20    Page 4 of 6




                 B. The Debtor’s Practice does not Require a Patient Ombudsman

    19.         Even if this Court were to find that the Debtor is a “health care business” under §

101(27A) of the Code, a patient care ombudsman is not warranted in this case.

    20.         The Debtor maintains all records completely and electronically, and there is no

potential harm to patients as the level of care of straightening crooked teeth does not rise to the

level of medical practice requiring an ombudsman.

    21.         The instant bankruptcy filing was not related to patient-care issues, but due to

several pending lawsuits and outstanding debts. The filing was not a result of any claims of patients

relating to patient care with respect to the Debtor’s practice.

    22.         In In re Medical Assc. of Pinellas, LLC, 360 B.R. 356 (Bankr.M.D.Fla.2007), the

court looked to nine non-exhaustive factors on determining whether a patient care ombudsman is

necessary to protect patients, including:

                (1)  the cause of the bankruptcy;
                (2)  the presence and role of licensing or supervising entites;
                (3)  debtor’s past history of patient care;
                (4)  the ability of the patients to protect their rights;
                (5)  the level of dependency of the patients on the facility;
                (6) the likelihood of tension between the interest of the patients and
                    the debtor;
                (7) the potential injury to the patients if the debtor drastically reduced
                     its level of patient care;
                (8) the presence and sufficiency of internal safeguards to ensure
                     appropriate level of care;
                (9) the impact of the cost of an ombudsman on the likelihood of a
                     successful reorganization.

                Id. at 359.

    23.         In the instant case, the Debtor’s orthodontist, Dr. Christopher Freeman, is a board-

certified orthodontist with a history of quality patient care, with an orthodontic license is in good

standing.


                                                  -4-
               Case 20-15408-SMG          Doc 32      Filed 05/31/20    Page 5 of 6




    24.        As to the cause of bankruptcy, the Debtor simply took on too much debt, but patient

care was not an issue that caused the filing.

    25.        There is a low level of dependency of patients on the facility as compared to typical

medical or surgical practices, as the patients are simply receiving clear aligners and only visit the

facility for follow up adjustments.

    26.        There is no potential injury to patients, as the level of medical care being provided

does not rise to situations where if the Debtor, e.g., went out of business, the patients would be

harmed. Another orthodontist would be able to make similar adjustments to their aligners.

    27.        As stated above, the Debtor has been maintaining its own internal safeguards

through its record-keeping system.

    28.        The cost of an ombudsman may impair reorganization efforts, as the Debtor is

currently saddled with not only debtor’s counsel fees but Subchapter V trustee fees as well. In this

case, an ombudsman would simply be unnecessary and would take away funds that would

otherwise go towards paying creditors.

       WHEREFORE, the Debtor respectfully requests that this Court enter an order determining

that the appointment of a patient care ombudsman is not appropriate nor necessary in this case,

granting a waiver for appointment, and granting such other and further relief as this Court deems

appropriate.

       I HEREBY CERTIFY that a true copy of the foregoing Motion was served on all parties

in the manner indicated below on May 31, 2020.

                                                      Respectfully Submitted,

                                                      Wernick Law, PLLC
                                                      Counsel for the Debtor
                                                      2255 Glades Road, Suite 324A
                                                      Boca Raton, Florida 33431

                                                -5-
            Case 20-15408-SMG      Doc 32     Filed 05/31/20   Page 6 of 6




                                              (o)(561)961-0922 / (f)(561) 431-2474

                                              By: /s/Aaron A. Wernick
                                              Aaron A. Wernick, Esq.
                                              Florida Bar No.: 14059
                                              awernick@wernicklaw.com

 SERVED VIA CM/ECF
• Soneet Kapila trustee@kapilaco.com, ecf.alert+Kapila@titlexi.com
• Laudy Luna ll@lgplaw.com, de@lgplaw.com
• Peter J Maskow pmaskow@mcglinchey.com, dtironi@mcglinchey.com
• Office of the US Trustee USTPRegion21.MM.ECF@usdoj.gov
• Zana Michelle Scarlett Zana.M.Scarlett@usdoj.gov




                                        -6-
